Case 2:10-md-02179-CJB-DPC Document 5637-4 Filed 02/09/12

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA
In Re: Oil Spill by the Oil Rig MDL No. 2179
“Deepwater Horizon” in the
Gulf of Mexico, on
April 20, 2010 Section: “J”
This Document Relates to: 2:12-cv-00067 Judge Barbier

Mag. Judge Shushan

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NOTICE OF SUBMISSION

PLEASE TAKE NOTICE that Plaintiffs Rory Degeyter, Hilliard Doucet and
Shawn Polkey to Remand shall bring on for hearing their Motion to Remand before the

Honorable Judge Barbier, United States District Judge for the Eastern District of

Louisiana, 500 Poydras Street, New Orleans, Louisiana on March 14, 2012 at 9:30 a.m.,

or as soon thereafter as counsel may be heard.

Respectfully submitted,

/s/ Andre’ P. LaPlace

Andre’ P. LaPlace (LBRN 8039)
2762 Continental Drive, Ste. 103
Baton Rouge, Louisiana 70808
Telephone (225) 924-6898

Facsimile (225) 924-6877
Email: alaw(@andrelaplace.com

